Case 2:04-cv-02771-BBD-dkv Document 121 Filed 07/01/05 Page 1 of 8 Page|D 134

'Hl.so
UNITED sTATEs DlsTRicT COURT B"' -% o.c.
FoR THE WESTERN DISTRICT oF TENNEssEE- 05 JUL _
WESTERN sEchoN AT MEMPHIS l PH 3= 01

AMERICAN COPPER & BRASS, INC., on) a ER’; M GOW_'}
behalf of itself and all others similarly ) US DISY€TM
situated, ) :‘..l;iA-‘F’Hfg
)
Plaintiffs, )
§ Civil Action No. 04-2771
v` ) Judge Donald
BOLIDEN AB; et ah ) Magist:rate Judge Vescovo
)
Defendants. )
)

 

ORDER GRANTING MOTION FOR ADMISSION
PRO HAC VICE OF MATTHEW I. BACHRACK

 

The Court, having considered the motion of Defendants, KME America Inc. (“KME”) to
allow Matthew I. Bachrack, Esq. of Cleary, Gottlieb, Steen & Hamilton, to appear pg §§ m
in this case, finds that the motion is well taken and should be GRANTED.

IT IS, THEREFORE, ORDERED that Matthew l. Bachrack of the law firm Cleary,

A/<,Q

U S Distn`ct Court Judge Donald

Gottlieb, Steen & Hamilton may appear in this case go M vice.

SIGNED, this the / sr day of

 

  

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APPROVED FOR ENTRY

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CERTIFICATE OF SERVICE

l hereby certify that a true and correct copy of the foregoing document has been

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Honorable Bernice Donald
US DISTRICT COURT

